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       EXHIBIT "A"
      Case 2:17-cv-01018-DSC Document 1-2 Filed 08/03/17 Page 2 of 10




  IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYL
                                                           VANIA



Clydetta Smith
270 Broadway Avenue
Apt 609
Pitcain, PA 15140                             CIVIL DIVISION
                              Plaintiff(s)
                                              No.:
                                      v.

Greyhound Lines, Inc.
350 North Saint Paul Street
Dallas, TX 75201
                                              COMPLAINT IN CIVIL ACTION
                              Defend ant(s)



                                              Filed on Behalf of Plaintiff,
                                              Clydetta Smith


                                              Counsel of Record for this Party:


                                              Marc 1. Simon, Esquire
                                              PA I.D. #: 201798


                                              SIMON & SIMON, P.C.


                                              1515 Market Street, Suite 1600
                                              Philadelphia, PA 19102
                                              (215)-467-4666
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                                          NOTICE
                             YOU HAVE BEEN SUED IN COURT



 If you wish to defend against the claims set forth in the following pages, you must take action
     within twenty (20) days after this complaint and notice are served, by entering a written
    appearance personally or by attorney and filing in writing with the court your defenses or
 objections to the claims set forth against you. You are warned that if you fail to do so the case
  may proceed without you and a judgment may be entered against you by the court without
further notice for any money claimed in the complaint or for any other claim or relief requested
       by the plaintiff. You may lose money or property or other rights important to you.




YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
 HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
   THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
                                           LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
  PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
   LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE



                                     Lawyer Referral Service
                                    Allegheny Bar Association
                                   11th Floor Koppers Building
                                       436 Seventh Avenue
                                      Pittsburgh, PA 15219
                                    Telephone: (412) 261-5555
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   IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



 Clydetta Smith


                                                        CIVIL DIVISION
                                  Plaintiff(s)
                                                        No.:
                                          v.

 Greyhound Lines, Inc.




                                  Defendant(s)



                                               COMPLAINT

        AND NOW, comes the Plaintiff, Clydetta Smith, by and through the undersigned counsel,

Marc I. Simon, Esquire and Simon and Simon, P.C., hereby and files tire following Complaint and


avers as follows:


        1.        Plaintiff, Clydetta Smith, is a resident of the Commonwealth of Pennsylvania,


residing at the address listed in the caption of this Complaint.


       2.         Upon information and belief, Defendant, Greyhound Lines, Inc., is a business entity

registered to do business in the Commonwealth of Pennsylvania, residing at the address listed in


the caption of this Complaint.


       3.      On or about October 3, 2016, at or about 9:00 p.m., Plaintiff was the passneger of


a motor vehicle, parked at or near the intersection of Liberty Avenue and Penn Avenue, in


Pittsburgh, PA.


       4.      At or about the same date and time, Defendant, Greyhound Lines, Inc., was the


owner of a motor vehicle which was traveling at or near the aforesaid intersection and/or location


of the vehicle in which Plaintiff was a passenger.
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        5.      At or about the same date and time, Defendant's vehicle was involved in a motor

vehicle collision with the vehicle in which Plaintiff was a passenger.


        6.      The aforesaid motor vehicle collision was caused by the Defendant negligently


and/or carelessly, operating his vehicle in such a manner so as to strike the vehicle in which


Plaintiff was a passenger.


       7.      The aforesaid motor vehicle collision was the result of the negligence and/or


carelessness of Defendant and not the result of any action or failure to act by Plaintiff.


        8.     As a result of the accident, the Plaintiff suffered serious, severe and pennanent

bodily injuries as set forth more fully below.


                                                     COUNT I
                                 Clydetta Smith v. Greyhound Lines, Inc.
                                        Persona! Injury—Negligence


       9.      Plaintiff incorporates     by reference   herein the allegations    set forth in   the

aforementioned paragraphs of this Complaint, inclusive, as if set forth herein at length.


        1 0.   The negligence of Defendant, which was the direct and sole cause of the aforesaid


motor vehicle collision and the resultant injuries and damages suffered by the Plaintiff, consisted


of the following:


               a.   Striking Plaintiffs vehicle;


               b.   Operating his/her vehicle into Plaintiffs lane of travel;

               c.   Failing to maintain proper distance between vehicles:


               d.   Operating said vehicle in a negligent manner without regard for the rights or


                    safety of Plaintiff or others;


               e.   Failing to have said vehicle under proper and adequate control;
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          f.     Operating said vehicle at a dangerous and excessive rate of speed under
                                                                                         the

                circumstances;

          g.    Violation of the assured clear distance rule;


      h.        Fai lure to keep a proper lookout;


      i.        Failure to apply brakes earlier to stop the vehicle without striking the Plaintiff

                or Plaintiffs vehicle;


      j.        Being inattentive to his/her duties as an operator of a motor vehicle;


      k.        Disregarding traffic lanes, patterns, and other devices;


      1.        Driving at a high rate of speed which was high and dangerous for conditions;

      m. Failing to remain continually alert while operating said vehicle;


      n.        Failing to perceive the highly apparent danger to others which the actions
                                                                                           and/or

                inactions posed;


     o.        Failing to give Plaintiff meaningful warning signs concerning the impendin
                                                                                          g

               collision;


     p.        Failing to exercise ordinary care to avoid a collision;


     q.        Failing to be highly vigi lant and maintain sufficient control of said vehicle
                                                                                              and

               to bring it to a stop on the shortest possible notice;


     r.        Operating said vehicle with disregard for the rights of Plaintiff, even though
                                                                                              she

               was aware or should have been aware of the presence of Plaintiff and the
                                                                                        threat

               of harm posed to Plaintiff;

     s.        Continuing to operate the vehicle in a direction towards the Plaintiffs vehicle

               when he/she saw, or in the exercise of reasonable diligence, should have
                                                                                        seen,

               that further operation in that direction would result in a collision;
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         11.     As a direct and consequential result of the negligent conduct of the Defendant
                                                                                                ,

 described above, the Plaintiff suffered various serious and permanent personal
                                                                                injuries, serious

 impairment of bodily function and/or permanent serious disfigurement and/or aggravatio
                                                                                       n of pre

 existing conditions and others ills and injuries, including disc bulges at L5-S1, and other
                                                                                             injuries

 to her head, arms, legs and shoulders, all to Plaintiffs great loss and detriment.


         12.    As a result of these injuries, all of which are permanent in nature and all of which


are to Plaintiffs great financial detriment and loss, Plaintiff has in the past, is presently,
                                                                                               and may

in the future suffer great pain, anguish, sickness and agony and will continue
                                                                               to suffer for an

indefinite time into the future.


        13.     As an additional result of the carelessness of Defendant, Plaintiff has suffered


emotional injuries, along with the physical injuries suffered.

        14.     As a direct result of the negligent conduct of the Defendant, Plaintiff suffered


damage to Plaintiffs personal property, including a motor vehicle, which Plaintiff
                                                                                   was operating

at the time of the aforesaid motor vehicle collision; including storage fees and
                                                                                 towing, all to

Plaintiffs great loss and detriment.


        15.     As a further result of Plaintiff s injuries, Plaintiff has in the past, is presently and


may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff's
                                                                                               further

loss and detriment.


        16.    Furthermore, in addition to all the injuries and losses suffered, the Plaintiff has


incurred or will incur medical, rehabilitative and other related expenses in an amount
                                                                                       equal to or

in excess of the basic personal injury protection benefits required by the Pennsylva
                                                                                     nia Motor

Vehicle Financial Responsibility Law, 75 Pa. C.S. Section 1701 et. seq. as amended.
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        WHEREFORE, Plaintiff prays for judgment in Plaintiffs favor and against Defendant, in

an amount in excess of Thirty-Five Thousand ($35,000.00) Dollars, plus all costs and other relief


this court deems just.


                                             SIMON & SIMON, P.O.


                                             BY:
                                                    Marc I. Simon, Esquire
                                                    Simon & Simon, P.C.
                                                    1515 Market Street
                                                    Suite 1600
                                                    Philadelphia, PA 1 91 02
                                                    215-467-4666
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                                         VERIFICATION



        I, Marc Simon, hereby state that I am attorney for the Plaintiff in the within action and


that the facts set forth in this Civil Action Complaint above are true and correct to the best of my


knowledge, information and belief.



       I understand that the statements in this Verification are made subject to the penalties of


1 8 U.S.C.A. § 1001 relating to unsworn falsification to authorities.




                                                           Marc I, Simon
10-27-16:15:23                           To: 2676
        Case 2:17-cv-01018-DSC
               ;From:          Document 1-2   Filed 08/03/17
                                                  399006     Page 10 of 10                                           # 22/ 24




                                                       VERIFICATION

                     r»                 L „ am the plaintiff in this action, an<j J hereby state that the feds set
             forth in the foregoing Complaint ana true
                                                       and cowed to the best of my knowledge,
                                                                                              information,
             and belief. I understand that this verific
                                                       ation is subject to 18 Pa. C.S. § 4904 provid
                                                                                                     ing for
             criminal penalties for unsworn falsification
                                                          to authorities.
